    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 1 of 58 PageID #:737




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS


 SKYWAVE NETWORKS, LLC,

                     Plaintiff,                Civil Action No. 1:24-cv-9650-XXX
                                               ______________________
              v.
                                               JURY TRIAL DEMANDED
 WILLIAM J. DISOMMA,
 PAUL A. GURINAS,
 MATTHEW HINERFELD,
 WILLIAM DISOMMA TRUST,
 PAUL A. GURINAS TRUST,
 JUMP FINANCIAL, LLC,
 JUMP TRADING HOLDINGS, LLC,
 JUMP TRADING, LLC,
 ECW WIRELESS, LLC,
 WORLD CLASS WIRELESS, LLC,
 VIRTU FINANCIAL, INC.,
 NLN HOLDINGS, LLC,
 NEW LINE NETWORKS, LLC, AND
 10BAND, LLC,

                     Defendants.


                                     COMPLAINT

      Skywave Networks, LLC (“Skywave”) files this Complaint against Defendants William J.

DiSomma (“DiSomma”); Paul A. Gurinas (“Gurinas”); Matthew Hinerfeld (“Hinerfeld”); William

DiSomma Trust (“DiSomma Trust”); Paul A. Gurinas Trust (“Gurinas Trust”); Jump Financial,

LLC (“Jump Financial”); Jump Trading Holdings, LLC (“Jump Trading Holdings”); Jump

Trading, LLC (“Jump Trading”); ECW Wireless, LLC (“ECW Wireless”); World Class Wireless,

LLC (“World Class Wireless”); Virtu Financial, Inc. (“Virtu”); NLN Holdings, LLC (“NLN

Holdings”); New Line Networks, LLC (“NLN”); and 10Band, LLC (“10Band”) (collectively,
      Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 2 of 58 PageID #:738




“Defendants”) and alleges as follows, based on personal knowledge as to Skywave and Skywave’s

acts and on information and belief as to all other matters.


                                              CONTENTS
INTRODUCTION .....................................................................................................................3
PARTIES, JURISDICTION, AND VENUE ............................................................................4
FACTS UNDERLYING THE CAUSES OF ACTION ............................................................9
   Skywave..................................................................................................................................9
      Skywave’s Technology........................................................................................................9
      Background on FCC Licensing ..........................................................................................13
      Skywave’s Discovery of Defendants’ Racketeering Scheme ..............................................15
   Defendants’ Enterprise ..........................................................................................................20
      Relationships Between Defendants ....................................................................................21
      Defendants’ Worldwide Trading Network and Associated Trading on that Network .......... 23
          Defendants’ Worldwide Trading ....................................................................................24
          Defendants’ Trading Infrastructure: Illinois ...................................................................27
          Defendants’ Trading Infrastructure: New York/New Jersey ...........................................29
          Defendants’ Trading Infrastructure: Washington ...........................................................30
          Defendants’ Trading Infrastructure: United Kingdom ....................................................30
          Defendants’ Trading Infrastructure: Continental Europe ................................................31
          Defendants’ Trading Infrastructure: Japan .....................................................................32
          Defendants’ Trading Infrastructure: Brazil.....................................................................32
          Defendants’ Trading Infrastructure: Canada...................................................................33
   Defendants’ Experimental Licenses .......................................................................................36
      Elburn I Experimental License ..........................................................................................36
      Elburn II Experimental License .........................................................................................40
      Wayne Experimental License ............................................................................................42
      Everett Experimental License ............................................................................................44
      Lynnwood Experimental License.......................................................................................46
   Defendants’ Racketeering......................................................................................................48
          Defendants’ Predicate Acts: Fraud in Applying for, Modifying, and Renewing
          Experimental Licenses in Violation of 18 U.S.C. § 1343................................................48
          Defendants’ Predicate Acts: Unlawful Use of Experimental Licenses for Commercial
          Trading in Violation of 18 U.S.C. § 1343 ......................................................................51


                                                                     2
      Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 3 of 58 PageID #:739




   Skywave’s Injury Caused by Defendants’ Unlawful Racketeering Conduct ........................... 53
CAUSES OF ACTION............................................................................................................ 55
   COUNT I: Violation of 18 U.S.C. § 1962(c) ......................................................................... 55
   COUNT II: Violation of 18 U.S.C. § 1962(d) ........................................................................ 56
Prayer For Relief..................................................................................................................... 57
Demand For Jury Trial........................................................................................................... 57

                                                      INTRODUCTION

          1.         This action arises from Defendants’ long-term, continuous racketeering and

conspiracy scheme to fraudulently obtain experimental shortwave radio licenses from the Federal

Communications Commission (“FCC”) to create a commercial trading network, 1 unlawfully use

those experimental licenses for commercial trading of financial instruments (“Commercial

Trading”), and leverage the ill-gotten advantages of experimental licenses to maximize their own

financial benefit and to the detriment of their competitors.

          2.         From 2013 to 2016, the Skywave founders developed and began to patent

revolutionary trading network technology, which it has continued to develop and improve through

the present. In 2016, Skywave was formed and entered into a                                                          partnership to

commercialize its network technology. With the funding from that partnership, Skywave started

to commercialize its trading network technology, including beginning the process to obtain a

commercial FCC license to operate a shortwave transmitter under 47 C.F.R. § 73 (“Commercial

License”).

          3.         Skywave’s commercialization efforts came to a halt because of Defendants’

unlawful activities detailed in this Complaint. In short, Defendants circumvented U.S. law by

fraudulently obtaining experimental FCC licenses—not Commercial Licenses—to operate


          1
          This Complaint uses the term “trading network” to refer to networks used to trade
financial instruments.
                                                                   3
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 4 of 58 PageID #:740




shortwave transmitters under 47 C.F.R. § 5 (“Experimental Licenses”).            Defendants then

unlawfully used and continue to use those Experimental Licenses for Commercial Trading.

Defendants custom-designed the parameters of their Experimental Licenses to separately and

collectively give Defendants a dominant speed advantage over traders using other communications

systems, including Skywave’s planned trading network using a shortwave transmitter under a

Commercial License. As a result of Defendants’ unlawful activities detailed in this Complaint,

Skywave’s partnerships fell apart, and its efforts to commercialize its technology were halted.

       4.      Defendants concealed the true nature of their commercial activities behind an

artifice of confidential experimental work and a web of shell companies that directed and

controlled (and continue to direct and control) Defendants’ racketeering scheme to defraud the

FCC to obtain shortwave Experimental Licenses for Commercial Trading, unlawfully use those

Experimental Licenses for Commercial Trading, and leverage the ill-gotten advantages of

Experimental Licenses to unfairly maximize the financial benefit that Defendants derive from

trading financial instruments at their competitors’ expense.

                          PARTIES, JURISDICTION, AND VENUE

       5.      Skywave is a limited liability company organized and existing under the laws of

Delaware, with its principal place of business at 10525 West US Highway 30, Building 4 C,

Wanatah, Indiana 46390.

       6.      DiSomma is an individual with a business address at 600 West Chicago Avenue,

Suite 600, Chicago, Illinois 60654. Disomma is also a resident of Illinois.

       7.      Gurinas is an individual with a business address at 600 West Chicago Avenue, Suite

600, Chicago, Illinois 60654.




                                                 4
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 5 of 58 PageID #:741




         8.       Hinerfeld is an individual with a business address at 600 West Chicago Avenue,

Suite 600, Chicago, Illinois 60654.

         9.       DiSomma Trust is a trust with a business address at 600 West Chicago Avenue,

Suite 840, Chicago, Illinois 60654.

         10.      Gurinas Trust is a trust with a business address at 600 West Chicago Avenue, Suite

840, Chicago, Illinois 60654.

         11.      Jump Financial is a limited liability company registered to do business in Illinois

with its principal place of business at 600 West Chicago Avenue, Suite 600, Chicago, Illinois

60654.

         12.      Jump Trading Holdings is a limited liability company registered to do business in

Illinois with its principal place of business at 600 West Chicago Avenue, Suite 600, Chicago,

Illinois 60654.

         13.      Jump Trading is a limited liability company registered to do business in Illinois

with its principal place of business at 600 West Chicago Avenue, Suite 600, Chicago, Illinois

60654.

         14.      ECW Wireless is a limited liability company organized and existing under the laws

of Delaware with a registered agent address at 1209 Orange Street, Wilmington, Delaware 19801.

         15.      World Class Wireless is a limited liability company registered to do business in

Illinois with its principal place of business at 600 West Chicago Avenue, Suite 600, Chicago,

Illinois 60654.

         16.      Virtu is a corporation organized and existing under the laws of Delaware with a

place of business at 233 Sout Wacker Drive, Suite 4020, Chicago, Illinois 60606.




                                                   5
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 6 of 58 PageID #:742




         17.   NLN Holdings is a limited liability company organized and existing under the laws

of Delaware with a registered agent address at 1209 Orange Street, Wilmington, Delaware 19801.

         18.   NLN is a limited liability company registered to do business in Illinois, with its

principal place of business at 600 West Chicago Avenue, Suite 600, Chicago, Illinois 60654.

         19.    10Band is a limited liability company organized and existing under the laws of

Delaware and has a place of business at 600 West Chicago Avenue, Suite 840, Chicago, Illinois

60654.

         20.   This is a civil action, arising under the Racketeer Influenced Corrupt Organizations

(“RICO”) Act, 18 U.S.C. § 1961 et seq.

         21.   This Court has subject matter jurisdiction under 28 U.S.C. § 1331.

         22.   Personal jurisdiction is proper against Jump Financial because it has a principal

place of business in the Northern District of Illinois.

         23.   Personal jurisdiction is proper against Jump Trading Holdings because it has a

principal place of business in the Northern District of Illinois.

         24.   Personal jurisdiction is proper against Jump Trading because it has a principal place

of business in the Northern District of Illinois.

         25.   Personal jurisdiction is proper against DiSomma and DiSomma Trust because

DiSomma, through DiSomma Trust, is an owner of Jump Financial, Jump Trading Holdings, and

Jump Trading, which all have principal places of business in the Northern District of Illinois.

         26.   Personal jurisdiction is proper against Gurinas and Gurinas Trust because Gurinas,

through Gurinas Trust, is an owner of Jump Financial, Jump Trading Holdings, and Jump Trading,

which all have principal places of business in the Northern District of Illinois.




                                                    6
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 7 of 58 PageID #:743




       27.     Personal jurisdiction is proper against Hinerfeld because he regularly transacts

business on behalf of Jump Trading in the Northern District of Illinois as Jump Trading’s general

counsel.

       28.     Personal jurisdiction is proper against ECW Wireless because it participated in the

activities alleged in this Complaint, a substantial portion of which occurred in the Northern District

of Illinois. ECW Wireless has also purposefully availed itself of the benefits and protections of

Illinois law through its effective 100 percent interest in World Class Wireless, 50 percent interest

in NLN, and 50 percent interest in 10Band, all registered in Illinois and with principal places of

business in Illinois. See supra ¶¶ 15, 18–19; infra Fig. 4. Further, the interests of justice require

that co-conspirators not residing in this state be brought before the Court in a single trial.

       29.     Personal jurisdiction is proper against World Class Wireless because it has a

principal place of business in the Northern District of Illinois.

       30.     Personal jurisdiction is proper against NLN Holdings because it participated in the

activities alleged in this Complaint, a substantial portion of which occurred in the Northern District

of Illinois. NLN Holdings has also purposefully availed itself of the benefits and protections of

Illinois law through its effective 50 percent interest in NLN and 50 percent interest in 10Band,

both registered in Illinois and with principal places of business in Illinois. See supra ¶¶ 18–19;

infra Fig. 4. Further, the interests of justice require that co-conspirators not residing in this state

be brought before the Court in a single trial.

       31.     Personal jurisdiction is proper against Virtu because it has a place of business in

the Northern District of Illinois, and it participated in the activities alleged in this Complaint, a

substantial portion of which occurred in this District. Further, Virtu owns approximately 50




                                                  7
     Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 8 of 58 PageID #:744




percent of the control of 10Band—through NLN Holdings and NLN—which operates radio

transmission links in this District related to the activities and claims alleged in this Complaint.

        32.     Personal jurisdiction is proper against NLN because it has a principal place of

business in the Northern District of Illinois.

        33.     Personal jurisdiction is proper against 10Band because it participated in the

activities alleged in this Complaint, a substantial portion of which occurred in the Northern District

of Illinois. Further, it operates radio transmission links in this District related to the activities and

claims alleged in this complaint.

        34.     Personal jurisdiction is also proper against all Defendants in the Northern District

of Illinois because they engaged in a years’ long racketeering scheme to, among other things,

defraud the FCC to obtain a shortwave Experimental License to operate a shortwave transmitter

located in Elburn, Illinois (which is within this District) and then unlawfully use that transmitter

for Commercial Trading. Defendants have engaged in activities in furtherance of that racketeering

scheme in this District by, among other things, engaging in systematic and continuous Commercial

Trading using the Elburn, Illinois transmitter.

        35.     Venue is proper in this District under 28 U.S.C. § 1391 and 18 U.S.C. § 1965.

Defendants DiSomma Trust, Gurinas Trust, Jump Financial, Jump Trading Holdings, Jump

Trading, World Class Wireless, and NLN are all residents of the Northern District of Illinois.

Defendants DiSomma, Gurinas, Hinerfeld, ECW Wireless, Virtu, NLN Holdings, and 10Band all

transact business in the Northern District of Illinois, including through activities in furtherance of

all Defendants’ racketeering scheme in this District by, among other things, engaging in systematic

and continuous Commercial Trading using the Elburn, Illinois transmitter. In addition, Jump and

NLN have regular and established places of business in the Northern District of Illinois and they,



                                                   8
     Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 9 of 58 PageID #:745




as well as Virtu and 10Band, engage in trading activities and network operations activities in this

District.

                    FACTS UNDERLYING THE CAUSES OF ACTION

                                             Skywave

        36.    In 2016, entrepreneur Timothy Eloe and inventor Kevin Babich founded Skywave

to commercially deploy technology for transcontinental wireless networks for trading. Skywave’s

shortwave trading network technology is ideal for all trading strategies that rely on the

transmission of time-sensitive data between distant financial markets, like the practice of latency

arbitrage in high-frequency trading (“HFT”).

                                          Skywave’s Technology

        37.    Skywave developed trading network technology that provides traders with a

quantum leap in communications speed, particularly for transoceanic communications.             For

example, using Skywave’s innovations, trade information can traverse the Atlantic Ocean faster

than over traditional networks using a combination of transoceanic optical fiber and microwave,

previously the fastest communication method.

        38.    Skywave’s technology uses shortwave radio to transmit trade information over long

distances. Shortwave radio, which is commonly associated with older technologies like AM radio,

had generally been considered antiquated for modern communications before Skywave developed

methods to leverage it in new ways.

        39.    Radio transmissions typically travel faster than transmissions via optical fiber.

However, unlike optical fiber transmissions, most common radio technology—e.g., microwave—

require a line of sight between transmitter and receiver. Such technology is not economically

feasible for transcontinental communication because the curvature of the earth blocks line of sight.



                                                 9
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 10 of 58 PageID #:746




       40.     Shortwave radio, in contrast, is well-suited for transcontinental communication

because it does not require a line of sight between transmitter and receiver. Shortwave radio

signals can be refracted—i.e., bounced—off the Earth’s ionosphere to effectively transmit

information around the curvature of the earth.

       41.     But the properties of shortwave radio signals also create challenges for transmitting

trading information over long distances. One such challenge is low bandwidth. Shortwave radio

can only carry a small fraction of the amount of information carried by optical fiber or microwave.

As a result, shortwave signals alone are insufficient to operate a trading network.

       42.     Skywave overcame the challenges of trading via shortwave radio signals through

its innovative and patented shortwave trading network technology.

       43.     The advantages of the increased communications speed provided by Skywave’s

technology is perhaps best illustrated via HFT and latency arbitrage examples.

       44.     HFT is a trading strategy where financial instruments, like stocks and futures, are

traded at high frequency to take advantage of small but frequent changes in financial markets.

HFT traders seek to make profits from these small changes by aggregating large quantities of high-

frequency trades over time. While HFT traders might only make a relatively small profit on a

single trade, they might make thousands of such trades per minute.

       45.     In HFT, successful trades are determined by small fractions of time—nanoseconds,

microseconds, and milliseconds. The opportunities that HFT traders seek are often only available

at the thinnest slices of time increments.

       46.     The fleeting nature of HFT opportunities dictates that the speed of the networks,

computers, and algorithms used by each HFT trader will determine whether that trader will be fast

enough to capture an opportunity or lose it to a faster trader. The HFT traders with the fastest



                                                 10
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 11 of 58 PageID #:747




networks can dominate the opportunities presented by changing conditions in national and

international financial markets.

       47.     Put simply, for HFT, the fastest network wins and every single millisecond counts.

As a matter of illustration, one HFT networking firm spent approximately $300 million to build a

domestic network to save 3 milliseconds 2 while another HFT networking firm spent $250 million

to build an intercontinental network to save 5 milliseconds. 3

       48.     Similarly, latency arbitrage trading is a form of trading that takes advantage of the

time it takes for overseas financial markets to adjust to one another’s changes. Latency arbitrage

traders leverage the fact that they can receive signals about overseas market changes several

milliseconds before other traders and then make trades before other traders are aware of those

overseas changes.

       49.     To further illustrate, one example of latency arbitrage trading is trading based on

the correlation between the S&P 500 E-Mini (“E-Mini”), which is traded on the Chicago

Mercantile Exchange (“CME”), and the DAX future (“FDAX”), which is traded on the Eurex

market in Germany. Specifically, an E-Mini price change can be a predictor of a future FDAX

price change—e.g., if the E-Mini price goes up or down, the FDAX price is likely to follow in the

same direction. Critically, however, it takes time (albeit milliseconds) for the FDAX to catch up

to the E-Mini, and that delay gives rise to a latency arbitrage trading opportunity. For instance,

when the E-Mini price goes up in Chicago, a U.S. trader with a low latency network can send a




       2
           Christopher Steiner, Wall Street’s Speed War, Forbes (July 16, 2012),
https://www.forbes.com/forbes/2010/0927/outfront-netscape-jim-barksdale-daniel-spivey-wall-
street-speed-war.html.
        3
          Ultra-Fast Telecom Cable from Herring Cove to Europe Nearly Complete, Can. Broad.
Corp. (Aug. 12, 2015), https://www.cbc.ca/news/canada/nova-scotia/ultra-fast-telecom-cable-
from-herring-cove-to-europe-nearly-complete-1.3188581.
                                                11
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 12 of 58 PageID #:748




trading trigger to buy the FDAX in Germany before the rest of the market drives up the price.

Then, having purchased the FDAX at a lower price than the rest of the market, the trader can turn

a profit by selling the FDAX at the higher price.

       50.     By 2016, Skywave was ready to commercialize its innovative shortwave trading

network technology and went to the market in search of development partners.

       51.     In October 2016, Skywave executed agreements with

                                                                and

        . Under the terms of those agreements,        would provide

                                                                                             and

                                                                         .

       52.     Skywave planned to implement its innovative shortwave trading network

technology through a transcontinental network between the United States and Europe (“Skywave

Network”). The Skywave Network would include a shortwave transmitter that Skywave planned

to operate under a Commercial License.

       53.     Using                                              under the Agreements, Skywave

engineered and designed the Skywave Network and supporting infrastructure. From October 2016

through March 2017, Skywave completed the following tasks in building the Skywave Network:

(1) assessed and selected transmitter and receiver sites in the United States and Europe; (2)

designed, engineered, and completed component specifications for customized transmitters,

antennas, and patented fiber back-channel modems and shortwave optimization methods; (3)

completed installation of a data center, security elements, connective elements, and microwave

dishes; and (4) prepared FCC construction permits and related filings, including applications for




                                                 12
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 13 of 58 PageID #:749




developmental FCC licenses. Skywave also entered into contracts with third parties for the

manufacture of transmitters, antennas, and modems for the Skywave Network.

                                  Background on FCC Licensing

       54.     Transmitting shortwave signals requires a license from the FCC. FCC licenses not

only give a party permission to transmit signals, but they also dictate the details of what can be

transmitted, where transmissions can originate, and how those transmissions are sent. See 47

U.S.C. §§ 301, 314. Section 301 makes clear that any such license is limited to the express terms

and conditions of the license: “no such license shall be construed to create any right, beyond the

terms, conditions, and periods of the license.” Id. at § 301.

       55.     The FCC forbids “[w]illful false statements made” in FCC license “applications,

amendments, and related statements of fact.” 47 C.F.R. §§ 5.57(d), 73.3513(d). Such willful false

statements are “punishable by fine and imprisonment” pursuant to 18 U.S.C. § 1001. Id.

       56.     There are two types of FCC licenses for shortwave radio transmission relevant to

the allegations in this Complaint: commercial and experimental. The FCC issues Commercial

Licenses under 47 C.F.R. § 73 (“Part 73”). A Commercial License provides access for commercial

use with certain restrictions. Specifically, Commercial Licenses (i) have limited bandwidth to

transmit data; (ii) are limited to fixed operation frequencies during specified hours; (iii) require

emissions masking; and (iv) have high minimum transmission power requirements. See 47 C.F.R.

§§ 73.702, 73.751, 73.758.

       57.     Experimental Licenses issue under 47 C.F.R. § 5 (“Part 5”) and are limited to

“experimentation” and “product development.”          Id. § 5.1(b). 4   Given that limited purpose,




       4
         The FCC also issues Experimental Licenses specific to “market trials” under Part 5, but
there are no market trial licenses at issue in this Complaint.
                                                 13
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 14 of 58 PageID #:750




applicants for Experimental Licenses are allowed to specify their own technical operating

parameters.

       58.     Defendants custom-designed a portfolio of Experimental Licenses to separately and

collectively comprise operating parameters that offer significant advantages over Commercial

Licenses. Specifically, Defendants’ Experimental Licenses (i) have more bandwidth than a

Commercial License; (ii) provide access to and allow instant and frequent switching across a wide

frequency range—i.e., “frequency hopping;” (iii) do not have emissions-masking requirements;

and (iv) do not have transmission power requirements. With increased bandwidth, Defendants can

transmit more data and do so more quickly. With frequency hopping, Defendants can adjust and

select the ideal frequency for given ionosphere conditions, which are constantly changing, and

thus transmit data at the optimal latency. By relaxing emissions-masking, Defendants reduce the

latency attributable to that process, gaining a further speed advantage. Finally, by avoiding the

high transmission power requirements, Defendants also avoid the high costs and operational

complexities of using high powered tube transmitters.

       59.     Importantly, Experimental Licenses do not authorize use of shortwave transmitters

for commercial uses, such as Commercial Trading or Defendants’ use of the shortwave

transmitters in the manner described in this Complaint. For example, 47 C.F.R. § 5.3 sets the

operations that are permitted under an Experimental License. None of those operations include

Commercial Trading or Defendants’ use of the shortwave transmitters in the manner described in

this Complaint. While Part 5 also includes “[p]roduct development and market trials,” id., those

do not authorize Commercial Trading or Defendants’ use of the shortwave transmitters in the

manner described in this Complaint. Additionally, 47 C.F.R. § 5.601 provides that, for product

development trials, “[m]arketing of devices . . . or provision of services for hire is not permitted.”



                                                 14
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 15 of 58 PageID #:751




By way of another example, 47 C.F.R. § 5.602 enables “provision of services for hire . . . before

the radio frequency device has been authorized by the Commission” only if the “device will be

operated in compliance with existing Commission rules, waivers of such rules that are in effect at

the time of operation, or rules that have been adopted by the Commission but that have not yet

become effective.” No such rules, waivers, or adopted rules exist that permit Commercial Trading

or Defendants’ use of the shortwave transmitters pursuant to an Experimental License in the

manner described in this Complaint.

                       Skywave’s Discovery of Defendants’ Racketeering Scheme

       60.     In December 2016, Skywave learned that 10Band had filed applications with the

FCC to obtain Experimental Licenses to operate shortwave transmitters. 10Band had filed an

application to operate in Elburn, Illinois, and the FCC granted that license. Around that time,

Skywave and its investors heard rumors in the industry that Jump or Virtu (both trading firms)

may be affiliated with 10Band.

       61.     In 2017,      became concerned that if anyone were to use 10Band’s shortwave

transmitter under an Experimental License for Commercial Trading, they would have a dominant

latency (i.e., speed) advantage over other traders using optical fiber and microwave networks and

the Skywave Network, which would operate under Commercial License conditions. See supra ¶¶

56–59. At that time, Skywave was not aware of any information confirming the rumors that Jump

or Virtu were affiliated with 10Band or using 10Band’s shortwave transmitter for Commercial

Trading. Nor was Skywave aware of any data showing or any method to determine whether Jump,

Virtu, or others were using Experimental Licenses for Commercial Trading.

       62.          did not believe the partnership could reasonably compete against any

unlawfully used 10Band Experimental License for Commercial Trading. Given its concern about



                                               15
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 16 of 58 PageID #:752




this possibility,     sought to exit the partnership with Skywave and                . In March 2017,

Skywave,                   agreed to release       from the partnership.

        63.     Without                 , Skywave was forced to pause or cancel aspects of its

network construction. Although         remained committed to the partnership,            did not provide

                       that Skywave lost when           left.

        64.     In the Fall of 2018, Skywave found

                                                          Skywave to further develop its innovative

shortwave network technology.                       did not, however, agree to

           to complete construction of the Skywave Network.

        65.     In early 2019, Skywave and                      went to the market for additional capital

investment, but they were unable to raise the funds necessary to complete construction of the

Skywave Network.

        66.     In 2020,                   asked                            of the Skywave Network

construction, but         declined because of its concerns that trading firms may have been using

Experimental Licenses for Commercial Trading.                   also requested, and Skywave agreed, to

dissolve the original partnership. At that time, Skywave was still not aware of any information

showing Jump, Virtu, or any other trading firm was affiliated with 10Band or using 10Band’s

Experimental Licenses for Commercial Trading. Nor was Skywave aware of any data showing or

any method to determine whether Jump, Virtu, or others were using Experimental Licenses for

Commercial Trading.

        67.     In October 2020                 and Virtu entered into a non-disclosure agreement

to discuss Skywave’s innovative shortwave network technology. Representatives of                        ,

Skywave, and Virtu subsequently met on or about October 8, 2020.



                                                   16
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 17 of 58 PageID #:753




       68.    In 2022, Skywave discovered that a German company, Deutsche Börse, offered a

market analytics tool called A7. The A7 tool enabled examination of CME and Eurex trading data

for evidence of trading using shortwave networks.

       69.    Using the A7 tool, Skywave discovered evidence of shortwave trading. For

example, the A7 tool showed two different latencies for latency arbitrage trading of the E-Mini

(abbreviated as “ES” in Figure 1) and the FDAX (as described above). See Fig. 1. First, E-Mini

price moves on the CME correlated with FDAX trading activity on the Eurex peaking

approximately 37 milliseconds later. That 37-millisecond latency indicates trading over networks

comprised of conventional optical fiber and microwave transmitters. Second, the A7 data also

showed E-Mini price moves on the CME correlated with FDAX trading activity on the Eurex

peaking approximately 28 milliseconds later. That relatively low 28-millisecond latency indicates

trading over networks that included shortwave transmissions.




                                               17
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 18 of 58 PageID #:754




                             Figure 1: XCME/XEUR Latency Data 5

       70.    In fact, Deutsche Börse’s head of quantitative analytics concluded that the A7

latency data showing an approximately 9-millisecond advantage in some trades was evidence of

shortwave trading. Fig. 2.




       5
               Stefan      Schlamp,        Stefan     Schlamp’s         Post,       LinkedIn,
https://www.linkedin.com/posts/stefanschlamp_cmegroup-eurex-marketdata-activity-
6948926555855192064-eXrF/ (indicating a time of publication 2 years priorto Sept. 2024).
                                             18
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 19 of 58 PageID #:755




                            Figure 2: Stefan Schlamp’s A7 Analysis 6

       71.     According to Deutsche Börse’s retroactive A7 analysis, trading at shortwave

latencies began in 2017, accelerated in 2019, and has dominated CME/EUREX latency arbitrage

trading, such as E-Mini-FDAX trading, since 2020. Correspondingly, trading activity at the

relatively slower optical fiber and microwave network latency gradually decreased after shortwave

trading commenced. Fig. 3 (heatmap showing shortwave network trading on “Short-Wave” dotted

line and optical fiber and microwave network trading on “MW/Hibernia/MW” line, with white

indicating activity and red indicating higher activity).




       6
               Stefan      Schlamp,        Stefan     Schlamp’s         Post,        LinkedIn,
https://www.linkedin.com/posts/stefanschlamp_cmegroup-eurex-marketdata-activity-
6948926555855192064-eXrF/ (indicating a time of publication 2 years prior to Sept. 2024).
                                                 19
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 20 of 58 PageID #:756




                          Figure 3: XCME/XEUR Network Data7

       72.    The rise in shortwave network trading evidenced by these low latencies precisely

matches the decline of CME traders who used conventional network technologies (e.g., optical

fiber and microwave) and eventually ceased CME/EUREX arbitrage trading because they could

not compete due to the low latencies enabled by shortwave networks.

                                   Defendants’ Enterprise

       73.    Since 2016, DiSomma, Gurinas, Hinerfeld, DiSomma Trust, Gurinas Trust, Jump

Financial, Jump Trading Holdings, Jump Trading, ECW Wireless, World Class Wireless, Virtu,

NLN Holdings, NLN, and 10Band have worked and continue to work in concert to advance their

shared purpose to defraud the FCC to obtain shortwave Experimental Licenses for Commercial


       7
               Stefan      Schlamp,        Stefan     Schlamp’s        Post,       LinkedIn,
https://www.linkedin.com/posts/stefanschlamp_cme-eurex-microwave-activity-
7027298230296051712-bW6x (indicating a time of publication 1 year prior to Sept. 2024).
                                             20
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 21 of 58 PageID #:757




Trading, unlawfully use those Experimental Licenses for Commercial Trading, and leverage the

ill-gotten advantages of Experimental Licenses to unfairly maximize the financial benefit that

Defendants derive from trading financial instruments at their competitors’ expense.

                               Relationships Between Defendants

       74.     Defendants form a complex network of individuals, trusts, shell companies, trading

companies, and other entities that are an association-in-fact enterprise under 18 U.S.C. § 1961(4)

to facilitate and conduct Defendants’ racketeering scheme.

       75.     Figure 4 provides an overview of the relationships between the Defendants. 8




                         Figure 4: Defendants’ Enterprise Overview




       8
         Figure 4 represents a compilation of the information in Exhibit 1 (FINRA BrokerCheck
Report for Jump Trading), Exhibit 2 (10Band Ownership Structure as Submitted to FCC), and
Exhibit 3 (Declaration of John P. Madigan on Behalf of NLN Holdings as Submitted to FCC).
                                               21
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 22 of 58 PageID #:758




         76.   DiSomma (labeled “2” in Fig. 4), Gurinas (labeled “3” in Fig. 4), and Hinerfeld

(labeled “1” in Fig. 4) are central figures in the coordination of the racketeering and conspiracy

scheme. DiSomma and Gurinas collectively own a controlling interest in Jump Financial (labeled

“6” in Fig. 4) through DiSomma Trust and Gurinas Trust, respectively. Jump Financial owns a

controlling interest in Jump Trading Holdings (labeled “7” in Fig. 4). Jump Trading Holdings

owns a controlling interest in Jump Trading (labeled “8” in Fig. 4). DiSomma and Gurinas are

involved in the management and operation of Jump Financial, Jump Trading Holdings, and Jump

Trading (collectively, “the Jump Defendants”). As part of the association-in-fact, the Jump

Defendants engage in Commercial Trading using one or more shortwave transmitters operated by

10Band (labeled “13” in Fig. 4) under an Experimental License.

         77.   Hinerfeld is the General Counsel for Jump Trading. Ex. 4. Hinerfeld signed

multiple fraudulent Experimental License applications and other filings on behalf of 10Band. See

infra ¶¶ 142–180. Hinerfeld is also a Board Manager for NLN Holdings (labeled “11” in Fig. 4).

Ex. 5.

         78.   Virtu (labeled “14” in Fig. 4) engages in Commercial Trading using one or more

shortwave transmitters operated by 10Band under an Experimental License.

         79.   NLN Holdings is a joint venture between DiSomma, Gurinas, and Virtu. Virtu

owns a 50 percent interest of NLN Holdings. DiSomma and Gurinas own a 50 percent interest of

NLN Holdings through a web of corporate shells. DiSomma and Gurinas collectively own a

controlling interest in ECW Wireless (labeled “9” in Fig. 4) through DiSomma Trust and Gurinas

Trust, respectively. ECW Wireless owns a controlling interest in World Class Wireless (labeled

“10” in Fig. 4). World Class Wireless owns a 50 percent interest in NLN Holdings (labeled “11”




                                               22
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 23 of 58 PageID #:759




in Fig. 4). NLN Holding is therefore ultimately owned and controlled by DiSomma, Gurinas, and

Virtu, which direct the Commercial Trading of the association-in-fact enterprise.

       80.     NLN Holdings owns a controlling interest in NLN (labeled “12” in Fig. 4). NLN

is also a joint venture of DiSomma, Gurinas, and Virtu. NLN’s Board of Directors has been

comprised of employees of the Jump Defendants (e.g., John Madigan and Marcus Washko) and

Virtu (e.g., Mike Rosenthal and Jason Vopni). NLN owns a controlling interest in 10Band.

       81.     10Band applied for Experimental Licenses to operate multiple shortwave

transmitters (as explained further below), and in so doing, knowingly made material

misrepresentations. 10Band operates shortwave transmitters under Experimental Licenses, and

the Jump Defendants and Virtu use those transmitters to engage in Commercial Trading.

       82.     DiSomma, Gurinas, Hinerfeld, DiSomma Trust, Gurinas Trust, ECW Wireless,

World Class Wireless, Virtu, NLN Holdings, NLN, and 10Band form an association-in-fact

enterprise under 18 U.S.C. § 1961(4) to facilitate and conduct Defendants’ racketeering scheme.

Its purpose is to defraud the FCC to obtain shortwave Experimental Licenses for Commercial

Trading, unlawfully use those Experimental Licenses for Commercial Trading, and leverage the

ill-gotten advantages of Experimental Licenses to unfairly maximize the financial benefit that

Defendants derive from trading financial instruments at their competitors’ expense.

       Defendants’ Worldwide Trading Network and Associated Trading on that Network




                                               23
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 24 of 58 PageID #:760




       83.    Figure 5 provides an overview of Defendants’ worldwide trading network

(“Defendants’ Worldwide Trading Network”).




               Figure 5: Defendants’ Worldwide Trading Network Overview

                               Defendants’ Worldwide Trading

       84.    Defendants operated and continue to operate a worldwide trading network that

connects major trading exchanges throughout the world. Defendants assembled this network using

the shortest possible paths between exchanges to ensure that Defendants’ trading signals arrive

faster than competing signals—allowing Defendants to dominate the trades between these

exchanges. Defendants’ network uses a combination of optical fiber, microwave, and shortwave

connections between trading exchanges.

       85.    Defendants operate computer servers or other equipment inside the data centers

where trading exchanges are managed. These servers are connected to the Defendants’ Worldwide

                                              24
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 25 of 58 PageID #:761




Trading Network and allow their trades to execute. Operating their servers inside the data centers

where trading exchanges are managed, in combination with the unlawful use of experimental

shortwave transmitters, provides Defendants with a low-latency network that is faster than

networks that do not unlawfully operate shortwave transmitters under Experimental Licenses.

Defendants use the lower-latency advantage of their trading network to dominate certain trades

across worldwide trading markets.

        86.    The following example illustrates how Defendants engage in Commercial Trading

across the globe using Defendants’ Worldwide Trading Network:

        a.     Defendants operate or use servers in the CME Group Data Center in Aurora,

Illinois.

        b.     When a price change occurs in the E-Mini (managed by servers in the CME Group

Data Center), Defendants’ servers inside the CME Group Data Center will detect the change faster

than other traders’ servers that are not co-located in the data center because there are only a few

meters of physical separation between Defendants’ servers and the servers that manage the E-Mini.

        c.     Defendants’ servers will send a signal to one of their servers at another location that

manages a financial instrument that pairs with the E-Mini, such as the FDAX.

        d.     In this example, Defendants’ servers in the CME Group Data Center will send a

shortwave trading signal to Defendants’ servers in the Deutsche Börse’s FR2 Data Center in

Frankfurt, Germany, where the FDAX is managed.

        e.     Because the FDAX is correlated to the price of the E-Mini, when the E-Mini drops

in price, Defendants know that the FDAX will likely adjust downward, and they in turn want to

sell the FDAX before other traders receive the E-Mini's drop information and the imminent FDAX




                                                 25
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 26 of 58 PageID #:762




drop. After the FDAX drops in price, the Defendants can purchase the FDAX at the lower price to

capture a profit.

        f.      With this information and infrastructure, Defendants can use their Experimental

Licenses to transmit that trading signal from Illinois to Germany to initiate the sale and buy orders

faster than any other trader can legally do via optical fiber and microwave networks alone or a

network that includes shortwave transmitters operated under a Commercial License.

        87.     Pursuant to the example above, Defendants will transmit the trading signal knowing

that the FDAX is likely to adjust. That signal starts at Defendants’ server inside the CME Group

Data Center and travels to a microwave link just outside the building where it will be transmitted

via microwave until it arrives at Defendants’ Elburn, Illinois shortwave transmitter station, which

is operated under an Experimental License. The Elburn shortwave transmitter then sends the

trading signal to Germany. When it arrives, the signal will be received by a shortwave receiving

station and then sent via microwave to Defendants’ server in Deutsche Börse’s FR2 Data Center

in Germany. That server will then send the buy and sell orders to the server that manages the

FDAX, which is also housed in the same FR2 Data Center.

        88.     In this example, Defendants can sell the FDAX and avoid a loss and position

themselves for profit because Defendants’ trade signal to sell the FDAX arrives at the Deutsche

Börse and is executed before other traders’ signals to sell the FDAX over other networks even

arrive. Once the other traders’ signals to sell arrive at Deutsche Börse, the market catches up, and

the price of the FDAX begins to drop. Defendants can then unwind the trade for a profit by

purchasing the FDAX at the lower market price. Thus, Defendants beat the market—avoiding a

loss and making a profit—through the low latency afforded by their unlawful use of an

Experimental License to operate the Elburn transmitter.



                                                 26
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 27 of 58 PageID #:763




       89.     Defendants have constructed a worldwide network of optical fiber, microwave

transmitters, and shortwave transmitters (including U.S. transmitters operated unlawfully under

Defendants’ Experimental Licenses) to, among other things, leverage the speed of shortwave

transmissions to profit from latency arbitrage trading. Through their network, Defendants trade

financial instruments on exchanges across the world, including NASDAQ, ICE, CME, CBOT,

NYMEX, COMEX, NYSE, CBOE, BATS, BZX, BYX, Chi-X, LSE, Deutsche Börse, JPX, TSE,

OSE, TOCOM, and B3.

                          Defendants’ Trading Infrastructure: Illinois

       90.     Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at the CME Group Data Center, located at 2905 Diehl Road, Aurora,

Illinois 60502. Trading exchanges hosted at this data center include the CME, CBOT, NYMEX,

and COMEX. 9

       91.     NLN maintains one or more microwave transmission links that transmit data to and

from the CME Group Data Center, including transmission links with FCC call signs WRBQ634,

WQYE600, WQTW361, WQWG200, and WQZD637. Exs. 6–9, 49.

       92.     10Band maintains one or more microwave transmission links that transmit data to

and from the CME Group Data Center, including the transmission links with FCC call signs

WRDY580, WRFA817, and WRJC512. Exs. 10–12.




       9
         CME Group, Inc. (“CME Group”) operates CME, CBOT, NYMEX, and COMEX.
William Shepard (labeled “4” in Fig. 4) serves on the Board of Directors of the CME Group.
Shepard also owns an interest in Jump Trading. Saijel Kishan & Matthew Leising, Don’t Tell
Anybody About This Story on HFT Power Jump Trading, Bloomberg (July 23, 2014),
https://www.bloomberg.com/news/articles/2014-07-23/don-t-tell-anybody-about-this-story-on-
hft-power-jump-trading.
                                              27
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 28 of 58 PageID #:764




       93.     Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at the data centers located at 350 East Cermak Road, Chicago, Illinois

60616, including the CH4 Data Center and the CME (collectively, “Cermak Road Data Centers”).

Trading exchanges hosted at these data centers include the NASDAQ, ICE, CME, CBOT,

NYMEX, and COMEX.

       94.     NLN maintains one or more microwave transmission links that transmit data to and

from the Cermak Road Data Centers, including the transmission links with FCC call sign

WQPE497 and WQZD637. Exs. 13, 49.

       95.     10Band operates two shortwave transmission stations in Elburn, Illinois that

transmit trading signals to Europe, Japan, and Washington with FCC call sign WI2XNX.

       96.     10Band operates one or more shortwave receiving stations in Elburn, Illinois that

receive trading signals from Europe (48 kHz), the British Isles (48 kHz), South America (24 kHz),

and Asia (12 kHz).

       97.     NLN operates a series of microwave transmission links that relay trading signals

between Illinois and New York/New Jersey. These include links with FCC call signs WQWX694,

WQWX695, WQXF336, WQUL202, WQYX983, WQPP781, WQUL201, WQYT727,

WQXK971, WQWF975, WQPI470, WQWF990, WQWF989, WQPZ816, and WQZD637. Exs.

14–27, 49.

       98.     NLN, directly or through an intermediary, operates a series of microwave

transmission links that relay trading signals between Illinois, New Jersey, and Canada. These

include links with FCC call signs WROY220, WQQE624, and WQZD637. Exs. 28–29, 49.

       99.     Defendants’ facilities in Illinois are connected, through optical fiber or microwave

intermediaries, to facilities in Washington.



                                                28
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 29 of 58 PageID #:765




                   Defendants’ Trading Infrastructure: New York/New Jersey

       100.    Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at the NYSE Data Center, located at 1700 MacArthur Boulevard,

Mahwah, New Jersey 07430. Trading exchanges hosted at this data center include the NYSE.

       101.    NLN maintains one or more microwave transmission links that transmit data to and

from the NYSE Data Center, including the transmission links with FCC call signs WQYZ771,

WRZQ793, and WQZD637. Exs. 30–31, 49.

       102.    Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at a series of affiliated data centers in Secaucus, New Jersey, including

the NY2 Data Center, located at 755 Secaucus Road, Secaucus, New Jersey 07094; the NY4 Data

Center, located at 275 Hartz Way, Secaucus, New Jersey 07094; and the NY5 Data Center, located

at 800 Secaucus Road, Secaucus, New Jersey 07094 (collectively, “Secaucus Data Centers”).

Trading exchanges hosted at these data centers include the NYSE, CBOE, BZX, BYX, and BATS.

       103.    NLN maintains one or more microwave transmission links that transmit data to and

from the Secaucus Data Centers, including the transmission links with FCC call signs WQVP918,

WQZD536, WRCR823, and WQZD637. Exs. 32–34, 49.

       104.    10Band maintains one or more microwave transmission links that transmit data to

and from the Secaucus Data Centers, including the transmission links with FCC call sign

WRFL965. Ex. 35.

       105.    Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at the NY11 Data Center, located at 1400 Federal Boulevard Carteret,

New Jersey 07008. Trading exchanges hosted at this data center include the NASDAQ.




                                                29
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 30 of 58 PageID #:766




       106.   NLN maintains one or more microwave transmission links that transmit data to and

from the NY11 Data Center, including the transmission links with FCC call signs WQWH561,

WQWE641, WQXF496, WQXM804, WRPF418, and WQZD637. Exs. 36–40, 49.

       107.   10Band operates a shortwave transmission station in Wayne, New Jersey that

transmits trading signals to Europe with FCC call sign WI2XNX.

       108.   Defendants’ facilities in New Jersey are connected, through optical fiber or

microwave intermediaries, to a cross-ocean optical fiber network over which they transmit signals

to Europe and Brazil.

                          Defendants’ Trading Infrastructure: Washington

       109.   10Band operates a shortwave transmission station in Snohomish, Washington that

transmits trading signals to Asia with FCC call sign WI2XNX.

       110.   10Band operates one or more shortwave receiving stations in Washington to accept

incoming shortwave transmissions from transmitters in Illinois and Canada. For example, 10Band

operates a shortwave receiving station at or near 47°5’12.6”N 121°55’21.3”W—a location near

Lake Roesiger, Washington.

       111.   Defendants’ facilities in Washington are connected, through optical fiber or

microwave intermediaries, to a cross-ocean optical fiber network over which they transmit signals

to Japan.

                        Defendants’ Trading Infrastructure: United Kingdom

       112.   10Band has a shortwave reception loop array station located in Burchett’s Green,

Maidenhead, SL6 6QR in the United Kingdom. This location receives shortwave signals from

Defendants’ shortwave transmission stations in New Jersey, Illinois, and Canada.




                                               30
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 31 of 58 PageID #:767




       113.    Defendants operate a shortwave transmission station in the British Isles that

transmits trading signals to the United States (48 kHz).

       114.    NLN operates a series of microwave links that relay signals between that location

and London, including providing transmission links to the LD4, LD5, and LD6 Data Centers, the

LSEG Data Center Docklands, and the NYSE Data Center. These microwave links transmit on

over 200 microwave licenses issued to NLN throughout Europe.

       115.    Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at the LD4, LD5, or LD6 Data Centers, located at 2 Buckingham

Avenue, Slough Trading Estate Slough, United Kingdom, SL1 4NB. Trading exchanges hosted

at these data centers include the BATS Chi-X.

       116.    Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at the LSEG Data Center Docklands, located at Coriander Avenue,

London E14 2AA. Trading exchanges hosted at this data center include the LSE.

       117.    Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at the NYSE Euronext Data Center, located at 20 Cranes Farm Road

Basildon SS14 3JD. Trading exchanges hosted at this data center include the NYSE.

                     Defendants’ Trading Infrastructure: Continental Europe

       118.    Defendants receive shortwave signals in Germany, either directly or when relayed

through microwave transmissions from shortwave receiver sites in other locations in Europe, from

Defendants’ shortwave transmission stations in New Jersey, Illinois, and Canada.

       119.    Defendants operate one or more shortwave transmission stations in continental

Europe that transmit trading signals to the United States (48 kHz).




                                                31
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 32 of 58 PageID #:768




       120.    NLN operates a series of microwave links that relay those signals to and from

Frankfurt, including providing transmission links to the FR2 Data Center.

       121.    Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at the FR2 Data Center, located at Kruppstraße 121, 60388 Frankfurt

am Main, Germany. Trading exchanges hosted at this data center include the Deutsche Börse.

                            Defendants’ Trading Infrastructure: Japan

       122.    Defendants, directly or through an intermediary, operate a shortwave receiving site

near 1342-6 Chikurachō Kawato, Minamiboso, Chiba 295-0014, Japan. This location receives

shortwave signals from Defendants’ shortwave stations in Washington and Canada.

       123.    Defendants operate one or more shortwave transmission stations in Japan that

transmit trading signals to the United States (12 kHz).

       124.    Defendants, directly or through an intermediary, operate a series of microwave

links that relay signals between that location and Tokyo, including providing transmission links to

one or more Japan Exchange Group Data Centers.

       125.    Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at one or more of the Japan Exchange Group’s data centers, including

the OSE data center, located in Koto-ku, Tokyo, Japan. Trading exchanges hosted at this data

center include the TSE, OSE, and TOCOM.

                            Defendants’ Trading Infrastructure: Brazil

       126.    Defendants, directly or through an intermediary, operate a shortwave receiving site

near Bairro do Castanho, Jundiaí - State of São Paulo, Brazil. This location receives shortwave

signals from Defendants’ shortwave stations in Canada.




                                                32
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 33 of 58 PageID #:769




       127.    Defendants operate one or more shortwave transmission stations in Brazil that

transmit trading signals to the United States (24 kHz).

       128.    Defendants, directly or through an intermediary, operate a series of microwave

links that relay signals between that location to Sao Paolo, including providing transmission links

to the B3 Data Center.

       129.    Jump Trading and Virtu, directly or through an intermediary, operate one or more

servers or other equipment at the B3 Data Center, located at R. Ricardo Prudente de Aquino, 85 -

Res. Tambore III, Santana de Parnaíba - SP, Brazil. Trading exchanges hosted at this data center

include the B3.

                           Defendants’ Trading Infrastructure: Canada

       130.    To expand the scope of their scheme, Defendants constructed or had constructed

and operated and continue to operate a shortwave transmission station in Ontario, Canada.

       131.    The Canadian government issues HF Developmental Licenses, which are

comparable to U.S. Experimental Licenses. Similar to U.S. Experimental Licenses, Canadian HF

Developmental Licenses are issued for the purpose of testing new wireless technologies and

provide their licensees with advantages that can reduce latency and cost. See Developmental

License Playbook, Gov’t of Can. (Sept. 28, 2022), https://ised-isde.canada.ca/site/spectrum-

management-telecommunications/en/licences-and-certificates/developmental-licence-playbook.

       132.    In March 2021, Defendants’ enterprise formed Canadian company 1291956 B.C.

Unlimited Liability Company, which does business as Green Wave Radio. Although Defendants

have attempted to hide their relationship with Green Wave Radio, Jump Trading’s affiliate

company Jump Operations, LLC (“Jump Operations”) registered Green Wave Radio’s website

address,   greenwaveradio.net,      on    July    20,     2023.   Greenwaveradio.net,       Whois,



                                                 33
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 34 of 58 PageID #:770




https://www.whois.com/whois/greenwaveradio.net (last accessed Sept. 27, 2024). Jump

Operations shares an address with Jump Trading at 600 West Chicago Avenue Suite 600, Chicago,

Illinois 60654, and Matthew Hinerfeld lists that same address as his address with the California

State Bar. 10

          133.   Green Wave Radio currently transmits shortwave trading signals from Defendants’

shortwave transmission station in Ontario, Canada under a Canadian HF Developmental License

with call sign CGA984. This link transmits signals to Defendants’ receiving stations in the United

Kingdom, Germany, Japan, Brazil, and Washington.

          134.   Defendants went to considerable lengths to obfuscate the connection between

Green Wave Radio in Canada and 10Band in the United States. Because the relationship between

their respective broadcasting networks could have alerted U.S. authorities to Defendants’ scheme

to trade on networks which they claimed were merely experimental, Defendants constructed a

hidden intermediary to connect their U.S. and Canadian networks rather than connecting them

openly.

          135.   Defendants created a company called RuralConnect, LLC (“RuralConnect”), which

masquerades as a local internet service provider and serves as an intermediary to Defendants.

RuralConnect owns a microwave path from Green Wave Radio’s transmitter in Ontario to a field

near Dunbridge, Ohio, operating with FCC call sign WROX998. Ex. 41. Figure 6 below shows

an aerial photograph of that link, labelled WROX998.




          10
           See Attorney Profile, Matthew Ben Hinerfeld #160961, State Bar of Cal. (Sept. 2024),
https://apps.calbar.ca.gov/attorney/Licensee/Detail/160961.
                                                34
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 35 of 58 PageID #:771




     Figure 6: Hidden Connection Between Defendants’ U.S. and Canadian Networks

       136.   NLN operates a microwave link with FCC call sign WQQE624, Ex. 29, which is

located across the street from RuralConnect’s microwave link near Dunbridge, Ohio. There are

no FCC licenses for microwave links between the NLN link and the RuralConnect link across the

street. Figure 6 shows an aerial photograph of that link, labelled WQQE624.

       137.   Instead of connecting these two microwave network links through an FCC license,

which might have alerted U.S. regulators, Defendants built or caused to be built a hidden optical

fiber cable that travels under a private driveway to connect the RuralConnect microwave link to

the NLN microwave link. Figure 6 shows an aerial photograph of the hidden optical fiber’s path

between the link labelled WROX998 and the link labelled WQQE624.

       138.   This hidden optical fiber cable connects Defendants’ shortwave transmission

station in Ontario, Canada to Defendants’ Worldwide Trading Network.


                                               35
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 36 of 58 PageID #:772




                              Defendants’ Experimental Licenses

                                 Elburn I Experimental License

       139.    Defendants applied for their first Experimental License on September 21, 2016

under FCC Experimental Licensing System File Number 0089-EX-CN-2016 for a 60-month term

at a station location in Elburn, Illinois (“Elburn I Experimental License Application”). Ex. 42-A.

       140.    The Elburn I Experimental License Application listed 10Band as the applicant.

Ronald Riley signed the application as an “[a]uthorized employee” of 10Band. The application

identified 10Band as a “[c]orporat[e]” applicant. The application also directed mail to a Duane

Morris LLP office and email correspondence to a Duane Morris LLP email domain. 10Band

requested that the Elburn I Experimental License Application be “withheld from public inspection”

because, according to 10Band, disclosure of 10Band’s narrative statement of its proposed research

and experimentation “would cause significant commercial, economic, and competitive harm to

10Band and its affiliates.” Ex. 42-B.

       141.    The FCC granted the Elburn I Experimental License with an effective date of

November 10, 2016 and an expiration date of November 1, 2021 (“Elburn I Experimental

License”). Ex. 42-C.

       142.    On August 31, 2021, 10Band submitted a renewal application for the Elburn I

Experimental License under FCC Experimental Licensing System File Number 0078-EX-TC-

2020 (“Elburn I Experimental License Renewal I”). Ex. 42-D. Hinerfeld—an “[a]uthorized

[r]epresentative” of the 10Band “[c]orporation”—signed the Elburn I Experimental License

Renewal I. The application directed mail to a 10Band office but all email correspondence to a

NLN email domain. The FCC granted the Elburn I Experimental License Renewal I, extending

the expiration date of the Elburn I Experimental License by 2 years—to November 1, 2023. Ex.



                                               36
   Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 37 of 58 PageID #:773




42-E. 10Band requested that the Elburn I Experimental License Renewal I be “withheld from

public inspection” because, according to 10Band, disclosure of 10Band’s narrative statement of

its proposed research and experimentation “would cause significant commercial, economic, and

competitive harm to 10Band and its affiliates.” Ex. 42-F.

       143.   On August 8, 2023, 10Band submitted a renewal application for the Elburn I

Experimental License under FCC Experimental Licensing System File Number 0277-EX-CM-

2022 (“Elburn I Experimental License Renewal II”). Ex. 42-G. Hinerfeld—an “[a]uthorized

[r]epresentative” of the 10Band “[c]orporation” —signed the renewal application. The application

directed mail to a 10Band office but all email correspondence to a NLN email domain. The FCC

granted the Elburn I Experimental License Renewal II, extending the expiration date of the Elburn

I Experimental License by an additional 2 years—to November 1, 2025. Ex. 42-H.

       144.   10Band submitted several other applications for modifications to the Elburn I

Experimental License.

       a.     The modification application filed on May 1, 2020 under FCC Experimental

Licensing System File Number 0078-EX-TC-2020 listed 10Band as the applicant. Hinerfeld

signed the application as an “[i]ndividual [a]pplicant” of 10Band. Ex. 42-I. The application

identified 10Band as an “[o]ther” applicant. It directed mail to a 10Band office but all email

correspondence to a NLN email domain.

       b.     The modification application filed on October 19, 2021 under FCC Experimental

Licensing System File Number 0234-EX-CM-2021 listed 10Band as the applicant. Hinerfeld

signed the application as an “[a]uthorized employee” of 10Band. Ex. 42-J. The application

identified 10Band as a “[c]orporate” applicant. It directed mail to a 10Band office but all email

correspondence to a NLN email domain.



                                               37
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 38 of 58 PageID #:774




          c.     The modification application filed on November 25, 2022 under FCC Experimental

Licensing System File Number 0277-EX-CM-2022 listed 10Band as the applicant. Hinerfeld

signed the application as an “[a]uthorized employee” of 10Band. Ex. 42-K. The application

identified 10Band as a “[c]orporate” applicant. It directed mail to a 10Band office but all email

correspondence to a NLN email domain.

          145.   In each license application, modification application, and renewal application for

the Elburn I Experimental License, 10Band or Hinerfeld certified to the U.S. government that all

statements in the application were true, complete, and correct to the best of 10Band or Hinerfeld’s

knowledge. In each license application, modification application, and renewal application for the

Elburn I Experimental License, 10Band or Hinerfeld certified to the U.S. government that all

statements in the application were considered material representations. In each license application,

modification application, and renewal application for the Elburn I Experimental License, 10Band

or Hinerfeld acknowledged to the U.S. government that willful false statements made in those

applications were punishable by fine, imprisonment, license revocation, and license forfeiture. See

Fig. 7.




                                                 38
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 39 of 58 PageID #:775




                  Figure 7: Exemplary Certification Excerpts from Exhibit 42-A

        146.      10Band or Hinerfeld willfully made at least the following material

misrepresentations, infra ¶¶ 172–180, with respect to the Elburn I Experimental License:

        a.        Each license application and modification application falsely certified that “[a]ll

operations” under Defendants’ Experimental Licenses would “be on an experimental basis.”

10Band and Hinerfeld knew at the time of the certifications that 10Band had operated or would

soon thereafter operate a shortwave transmitter under the Elburn I Experimental License for

Commercial Trading by the Jump Defendants and Virtu. In other words, 10Band and Hinerfeld

knew at the time of the certifications that 10Band would be operating a shortwave transmitter

under the Elburn I Experimental License for purposes other than experimentation in contravention

of the certification.

        b.        Each license application and modification application falsely stated that equipment

used under Defendants’ Experimental Licenses was not capable of station identification. 10Band

and Hinerfeld knew at the time of the certifications that 10Band’s equipment was capable of station

identification.

                                                  39
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 40 of 58 PageID #:776




       c.      Each renewal application falsely certified that the “[n]ature” of Defendants’

activities under Defendants’ Experimental Licenses were “experimental.” 10Band and Hinerfeld

knew at the time of the certifications that 10Band had operated or would soon thereafter operate a

shortwave transmitter under the Elburn I Experimental License for Commercial Trading by the

Jump Defendants and Virtu. In other words, 10Band and Hinerfeld knew at the time of the

certifications that 10Band would be operating a shortwave transmitter under the Elburn I

Experimental License for purposes other than experimentation in contravention of the certification.

                                 Elburn II Experimental License

       147.    Defendants applied for another Experimental License on January 22, 2020 under

FCC Experimental Licensing System File Number 0074-EX-CN-2020 for a 24-month term at a

station location in Elburn, Illinois (“Elburn II Experimental License Application”). Ex. 43-A.

       148.    The Elburn II Experimental License Application listed 10Band as the applicant.

Hinerfeld signed the application as an “[a]uthorized employee” of 10Band. The application

identified 10Band as a “[c]orporat[e]” applicant. The application also directed mail to a Duane

Morris LLP office and email correspondence to a Duane Morris LLP email domain. 10Band

requested that the Elburn II Experimental License Application be “withheld from public

inspection” because, according to 10Band, disclosure of 10Band’s narrative statement of its

proposed research and experimentation “would cause significant commercial, economic, and

competitive harm to 10Band and its affiliates.” Ex. 43-B.

       149.    The FCC granted the Elburn II Experimental License with an effective date of

February 12, 2020 and an expiration date of February 1, 2022 (“Elburn II Experimental License”).

Ex. 43-C.




                                                40
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 41 of 58 PageID #:777




        150.   10Band filed a modification application for the Elburn II Experimental License on

May 1, 2020 under FCC Experimental Licensing System File Number 0079-EX-TC-2020. Ex.

43-D.    The modification application listed 10Band as the applicant. Hinerfeld signed the

application as an “[i]ndividual [a]pplicant” of 10Band. The application identified 10Band as an

“[o]ther” applicant.   The application also directed mail to a 10Band office but all email

correspondence to a NLN email domain.

        151.   In each license application and modification application for the Elburn II

Experimental License, 10Band or Hinerfeld certified to the U.S. government that all statements in

the application were true, complete, and correct to the best of 10Band or Hinerfeld’s knowledge.

In each license application and modification application for the Elburn II Experimental License,

10Band or Hinerfeld certified to the U.S. government that all statements in the application were

considered material representations. In each license application and modification application for

the Elburn II Experimental License, 10Band or Hinerfeld acknowledged to the U.S. government

that willful false statements made in those applications were punishable by fine, imprisonment,

license revocation, and license forfeiture.

        152.   10Band or Hinerfeld willfully made at least the following material

misrepresentations, infra ¶¶ 172–180, with respect to the Elburn II Experimental License:

        a.     Each license application and modification application falsely certified that “[a]ll

operations” under Defendants’ Experimental Licenses would “be on an experimental basis.”

10Band and Hinerfeld knew at the time of the certifications that 10Band had operated or would

soon thereafter operate a shortwave transmitter under the Elburn II Experimental License for

Commercial Trading by the Jump Defendants and Virtu. In other words, 10Band and Hinerfeld

knew at the time of the certifications that 10Band would be operating a shortwave transmitter



                                               41
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 42 of 58 PageID #:778




under the Elburn II Experimental License for purposes other than experimentation in contravention

of the certification.

        b.        Each license application and modification application falsely stated that equipment

used under Defendants’ Experimental Licenses was not capable of station identification. 10Band

and Hinerfeld knew at the time of the certifications that 10Band’s equipment was capable of station

identification.

                                     Wayne Experimental License

        153.      Defendants applied for another Experimental License on January 22, 2020 under

FCC Experimental Licensing System File Number 0075-EX-CN-2020 for a 24-month term at a

station location in Wayne, New Jersey (“Wayne Experimental License Application”). Ex. 44-A.

        154.      The Wayne Experimental License Application listed 10Band as the applicant.

Hinerfeld signed the application as an “[a]uthorized employee” of 10Band. The application

identified 10Band as a “[c]orporat[e]” applicant. The application also directed mail to a Duane

Morris LLP office and email correspondence to a Duane Morris LLP email domain. 10Band

requested that the Wayne Experimental License Application be “withheld from public inspection”

because, according to 10Band, disclosure of 10Band’s narrative statement of its proposed research

and experimentation “would cause significant commercial, economic, and competitive harm to

10Band and its affiliates.” Ex. 44-B.

        155.      The FCC granted the Wayne Experimental License with an effective date of

February 14, 2020 and an expiration date of February 1, 2022 (“Wayne Experimental License”).

Ex. 44-C.

        156.      10Band filed a modification application for the Wayne Experimental License on

May 1, 2020 under FCC Experimental Licensing System File Number 0080-EX-TC-2020. Ex.



                                                  42
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 43 of 58 PageID #:779




44-D.    The modification application listed 10Band as the applicant.        Hinerfeld signed the

application as an “[i]ndividual [a]pplicant” of 10Band. The application identified 10Band as an

“[o]ther” applicant.    The application also directed mail to a 10Band office but all email

correspondence to a NLN email domain.

        157.    In each license application and modification application for the Wayne

Experimental License, 10Band or Hinerfeld certified to the U.S. government that all statements in

the application were true, complete, and correct to the best of 10Band or Hinerfeld’s knowledge.

In each license application and modification application for the Wayne Experimental License,

10Band or Hinerfeld certified to the U.S. government that all statements in the application were

considered material representations. In each license application and modification application for

the Wayne Experimental License, 10Band or Hinerfeld acknowledged to the U.S. government that

willful false statements made in those applications were punishable by fine, imprisonment, license

revocation, and license forfeiture.

        158.    10Band or Hinerfeld willfully made at least the following material

misrepresentations, infra ¶¶ 172–180, with respect to the Wayne Experimental License:

        a.      Each license application and modification application falsely certified that “[a]ll

operations” under Defendants’ Experimental Licenses would “be on an experimental basis.”

10Band and Hinerfeld knew at the time of the certifications that 10Band had operated or would

soon thereafter operate a shortwave transmitter under the Wayne Experimental License for

Commercial Trading by the Jump Defendants and Virtu. In other words, 10Band and Hinerfeld

knew at the time of the certifications that 10Band would be operating a shortwave transmitter

under the Wayne Experimental License for purposes other than experimentation in contravention

of the certification.



                                                43
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 44 of 58 PageID #:780




        b.        Each license application and modification application falsely stated that equipment

used under Defendants’ Experimental Licenses was not capable of station identification. 10Band

and Hinerfeld knew at the time of the certifications that 10Band’s equipment was capable of station

identification.

                                     Everett Experimental License

        159.      Defendants applied for another Experimental License on January 22, 2020 under

FCC Experimental Licensing System File Number 0077-EX-CN-2020 for a 24-month term at a

station location in Everett, Washington (“Everett Experimental License Application”). Ex. 45-A.

        160.      The Everett Experimental License Application listed 10Band as the applicant.

Hinerfeld signed the application as an “[a]uthorized employee” of 10Band. The application

identified 10Band as a “[c]orporat[e]” applicant. The application also directed mail to a Duane

Morris LLP office and email correspondence to a Duane Morris LLP email domain. 10Band

requested that Everett Experimental License Application be “withheld from public inspection”

because, according to 10Band, disclosure of 10Band’s narrative statement of its proposed research

and experimentation “would cause significant commercial, economic, and competitive harm to

10Band and its affiliates.” Ex. 45-B.

        161.      The FCC granted the Everett Experimental License with an effective date of

February 14, 2020 and an expiration date of February 1, 2022 (“Everett Experimental License”).

Ex. 45-C.

        162.      10Band filed a modification application for the Everett Experimental License on

May 1, 2020 under FCC Experimental Licensing System File Number 0081-EX-TC-2020. Ex.

45-D.   The modification application listed 10Band as the applicant.           Hinerfeld signed the

application as an “[i]ndividual [a]pplicant” of 10Band. The application identified 10Band as an



                                                  44
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 45 of 58 PageID #:781




“[o]ther” applicant.    The application also directed mail to a 10Band office but all email

correspondence to a NLN email domain.

        163.    In each license application and modification application for the Everett

Experimental License, 10Band or Hinerfeld certified to the U.S. government that all statements in

the application were true, complete, and correct to the best of 10Band or Hinerfeld’s knowledge.

In each license application and modification application for the Everett Experimental License,

10Band or Hinerfeld certified to the U.S. government that all statements in the application were

considered material representations. In each license application and modification application for

the Everett Experimental License, 10Band or Hinerfeld acknowledged to the U.S. government that

willful false statements made in those applications were punishable by fine, imprisonment, license

revocation, and license forfeiture.

        164.    10Band or Hinerfeld willfully made at least the following material

misrepresentations, infra ¶¶ 172–180, with respect to the Everett Experimental License:

        a.      Each license application and modification application falsely certified that “[a]ll

operations” under Defendants’ Experimental Licenses would “be on an experimental basis.”

10Band and Hinerfeld knew at the time of the certifications that 10Band had operated or would

soon thereafter operate a shortwave transmitter under the Everett Experimental License for

Commercial Trading by the Jump Defendants and Virtu. In other words, 10Band and Hinerfeld

knew at the time of the certifications that 10Band would be operating a shortwave transmitter

under the Everett Experimental License for purposes other than experimentation in contravention

of the certification.

        b.      Each license application and modification application falsely stated that equipment

used under Defendants’ Experimental Licenses was not capable of station identification. 10Band



                                                45
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 46 of 58 PageID #:782




and Hinerfeld knew at the time of the certifications that 10Band’s equipment was capable of station

identification.

                                  Lynnwood Experimental License

        165.      On or about March 2020, NLN acquired substantially all of Western Maritime

Broadcast LLC (“Western Maritime”), including Western Maritime’s Experimental License,

which was initially granted under FCC Experimental Licensing System File Number 0885-EX-

CN-2018 for a 24-month term at a station location in Lynnwood, Washington with an effective

date of February 8, 2020 and an expiration date of February 1, 2021 (“Lynnwood Experimental

License”). Ex. 46-A. On or about March 2020, NLN assigned its rights to the Lynnwood

Experimental License to 10Band. See Exs. 5, 46-B.

        166.      10Band filed an application for consent of assignment of the Lynnwood

Experimental License on March 6, 2020. Ex. 46-B. The application listed 10Band as the

applicant-assignee. Hinerfeld signed the application as an “[o]fficer” of 10Band.

        167.      The FCC granted the assignment of the Lynnwood Experimental License to 10Band

effective April 3, 2020. Ex. 46-C.

        168.      10Band submitted several other applications for modifications to the Lynnwood

Experimental License.

        a.        The modification application filed on April 17, 2020 under FCC Experimental

Licensing System File Number 0005-EX-AL-2020 listed 10Band as the applicant. Hinerfeld

signed the application as an “[o]ffice[r]” of 10Band. Ex. 46-D. The application identified 10Band

as a “[c]orporat[e]” applicant. The application also directed mail to a Duane Morris LLP office

and email correspondence to a Duane Morris LLP email domain.




                                                46
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 47 of 58 PageID #:783




        b.     The modification application filed on November 25, 2020 under FCC Experimental

Licensing System File Number 0268-EX-CM-2020 listed 10Band as the applicant. Hinerfeld

signed the application as an “[a]uthorized employee” of 10Band. Ex. 46-E. The application

identified 10Band as a “[c]orporat[e]” applicant. The application also directed mail to a Duane

Morris LLP office and email correspondence to a Duane Morris LLP email domain.

        c.     The modification application filed on December 8, 2020 under FCC Experimental

Licensing System File Number 0118-EX-TC-2020 listed 10Band as the applicant. Hinerfeld

signed the application as an “[o]ffice[r]” of 10Band. Ex. 46-F. The application identified 10Band

as an “[o]ther” applicant. The application also directed mail to a 10Band office but all email

correspondence to a NLN email domain.

        169.   In each consent of assignment application and modification application for the

Lynnwood Experimental License, 10Band or Hinerfeld certified to the U.S. government that all

statements in the application were true, complete, and correct to the best of 10Band or Hinerfeld’s

knowledge.     In each consent of assignment application and modification application for the

Lynnwood Experimental License, 10Band or Hinerfeld certified to the U.S. government that all

statements in the application were considered material representations.       In each consent of

assignment application and modification application for the Lynnwood Experimental License,

10Band or Hinerfeld acknowledged to the U.S. government that willful false statements made in

those applications were punishable by fine, imprisonment, license revocation, and license

forfeiture.

        170.   10Band or Hinerfeld willfully made at least the following material

misrepresentations, infra ¶¶ 172–180, with respect to the Lynnwood Experimental License:




                                                47
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 48 of 58 PageID #:784




       a.      Each consent of assignment application and modification application falsely

certified that “[a]ll operations” under Defendants’ Experimental Licenses would “be on an

experimental basis.” 10Band and Hinerfeld knew at the time of the certifications that 10Band had

operated or would soon thereafter operate a shortwave transmitter under the Lynnwood

Experimental License for Commercial Trading by the Jump Defendants and Virtu. In other words,

10Band and Hinerfeld knew at the time of the certifications that 10Band would be operating a

shortwave transmitter under the Lynnwood Experimental License for purposes other than

experimentation in contravention of the certification.

       b.      Each modification application falsely stated that equipment used under Defendants’

Experimental Licenses was not capable of station identification. 10Band and Hinerfeld knew at

the time of the certifications that 10Band’s equipment was capable of station identification.

                                    Defendants’ Racketeering

       171.    Defendants have fraudulently obtained and renewed several Experimental Licenses

for shortwave communications to unlawfully dominate the Commercial Trading market.

  Defendants’ Predicate Acts: Fraud in Applying for, Modifying, and Renewing Experimental
                         Licenses in Violation of 18 U.S.C. § 1343

       172.    Defendants’ predicate acts of racketeering include the submission of each license

application, modification application, renewal application, consent of assignment application, and

confidentiality request for Defendants’ Experimental Licenses—each of which constitutes the use

of wire for the purpose of executing Defendants’ racketeering scheme and is an act of wire fraud

in violation of 18 U.S.C. § 1343.

       173.    Defendants purposefully made the material misrepresentations described in at least

Paragraphs 146, 152, 158, 164, and 170 for the purpose of executing Defendants’ scheme to

defraud the FCC to obtain shortwave Experimental Licenses for Commercial Trading, unlawfully

                                                48
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 49 of 58 PageID #:785




use those Experimental Licenses for Commercial Trading, and leverage the ill-gotten advantages

of Experimental Licenses to unfairly maximize the financial benefit that Defendants derive from

trading financial instruments at their competitors’ expense.

       174.    Each of Defendants’ material misrepresentations was false when it was made, and

10Band or Hinerfeld knew it was false. 10Band or Hinerfeld falsely represented that all 10Band’s

activities and operations under the Experimental Licenses were “experimental” in nature. Yet

10Band applied for and received Defendants’ Experimental Licenses for the purposes of allowing

Jump Trading and Virtu to exploit the technical advantages of shortwave transmitters operated

under the custom-designed parameters of Defendants’ Experimental Licenses to gain a speed

advantage over competitors for Commercial Trading.

       175.    10Band or Hinerfeld also falsely represented that the modem equipment used under

each of Defendants’ Experimental Licenses—TrellisWare TW-621—was not capable of

broadcasting station identification. Broadcasting station identification has been possible since the

advent of radio broadcasting though the use of equipment that could produce Morse code. In

addition, the TrellisWare TW-621 is an advanced, modern modem. 10Band uses the TrellisWare

TW-621 to broadcast station identification information in Canada. FirstToken, Shortwave HFT

(High Frequency Trading) Station, CGA984 with Morse ID, 20152 kHz, 30 October, 2022,

YouTube (Nov. 5, 2022), https://www.youtube.com/watch?v=yLWMnrRJd7U; Ex. 47.

       176.    10Band or Hinerfeld transmitted or caused to be transmitted the identified material

misrepresentations over wire communications between 10Band (in Chicago, Illinois) and the FCC

(in Washington, DC) in interstate and foreign commerce and did so for the purpose of executing

Defendants’ scheme to defraud the FCC to obtain shortwave Experimental Licenses for

Commercial Trading, unlawfully use those Experimental Licenses for Commercial Trading, and



                                                49
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 50 of 58 PageID #:786




leverage the ill-gotten advantages of Experimental Licenses to unfairly maximize the financial

benefit that Defendants derive from trading financial instruments at their competitors’ expense.

       177.    Through Defendants’ electronic communications to the FCC, Defendants

unlawfully acquired Experimental Licenses under false pretenses. Defendants could not have

obtained their Experimental Licenses without Defendants’ material misrepresentations that all of

10Band’s activities and operations under the Experimental Licenses were “experimental” in

nature. Supra ¶¶ 54–59, 172–176.

       178.    Through Defendants’ electronic communications to the FCC, Defendants also

unlawfully extended the Elburn I Experimental License under false pretenses. Defendants could

not have obtained either the Elburn I Experimental License Renewal I or the Elburn I Experimental

License Renewal II without Defendants’ material misrepresentations that all of 10Band’s activities

and operations under the Elburn I Experimental License were “experimental” in nature. Supra ¶¶

54–59, 172–176.

       179.    Through Defendants’ electronic communications to the FCC, Defendants

frustrated and obfuscated identification or investigation of the true commercial nature of the

operations Defendants conducted under Defendants’ Experimental Licenses for the purpose of

executing Defendants’ scheme. By repeatedly requesting that the FCC “with[o]ld from public

inspection” 10Band’s narrative description of its purported experimental work under Defendants’

Experimental Licenses, Defendants prevented Skywave and other competitors from investigating

and uncovering Defendants’ unlawful scheme.

       180.    Defendants further frustrated and obfuscated the investigation with material

misrepresentations that the equipment used under each of Defendants’ Experimental Licenses was

not capable of station identification. As a result of those material misrepresentations, Defendants



                                                50
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 51 of 58 PageID #:787




prevented the FCC, Skywave, and other competitors from investigating the connections between

Defendants’ network infrastructure. See supra ¶¶ 83–138. Had Defendants complied with the

station identification requirements for their Experimental Licenses, the FCC, Skywave, and other

competitors would have been able to more readily track precisely when Defendants were using

10Band’s shortwave transmitters to send shortwave signals and then tie those signals to

Commercial Trading data.

       181.    Skywave is not the only victim of Defendants’ fraud in applying for, modifying,

and renewing their Experimental Licenses. Defendants’ racketeering has also injured financial

“pairs traders,” who trade pairs, such as the E-Mini/FDAX arbitrage.

       182.    Skywave has knowledge of pairs traders that have ceased operations due to

Defendants’ racketeering. Because Defendants unlawfully used and continue to use 10Band’s

shortwave transmitters under Defendants’ Experimental Licenses, they have achieved an

approximately 9-millisecond advantage over pairs traders using conventional optical fiber and

microwave networks, which enables Defendants to manipulate the pricing of paired assets and to

take advantage of favorable asset prices. See Fig. 1.

Defendants’ Predicate Acts: Unlawful Use of Experimental Licenses for Commercial Trading in
                                Violation of 18 U.S.C. § 1343

       183.    Defendants’ predicate acts of racketeering include each commercial trade made by

Defendants using shortwave networks granted to 10Band under the Elburn I Experimental License,

Elburn II Experimental License, Wayne Experimental License, Everett Experimental License, and

Lynnwood Experimental License—each of which constitutes the use of wire for the purpose of

executing Defendants’ racketeering scheme and is an act of wire fraud in violation of 18 U.S.C.

§ 1343.




                                                51
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 52 of 58 PageID #:788




       184.    Defendants use Defendants’ Experimental Licenses to engage in Commercial

Trading, contrary to 10Band’s and Hinerfeld’s sworn representations to the U.S. government that

the licenses would be used for research or experimentation. Defendants developed their extensive,

global network to engage in Commercial Trading at major worldwide market exchanges, including

the NASDAQ, ICE, CME, CBOT, NYMEX, COMEX, NYSE, CBOE, BATS, BZX, BYX, Chi-

X, LSE, Deutsche Börse, JPX, TSE, OSE, TOCOM, and B3. See Fig. 7.

       185.    To date, Defendants have regularly engaged in unlawful Commercial Trading since

approximately January 2020 using interstate or intercontinental wires. See supra ¶¶ 83–138.

       186.    Virtu has used 10Band’s shortwave transmitter under an Experimental License to

engage in Commercial Trading. When Skywave met with Virtu in October 2020 to discuss a

potential license to Skywave’s network technology, Virtu declined Skywave’s licensing offer.

Virtu mentioned during the meeting that it had access to 10Band’s shortwave network but did not

mention whether it was trading over that network. See supra ¶ 67. At that time, 10Band only

possessed shortwave Experimental Licenses from the FCC; it did not have any shortwave

Commercial Licenses from the FCC.

       187.    Virtu’s SEC disclosures also suggest that it is part of joint ventures that use

“microwave communication networks” to engage in “trading activities.” Specifically, in its 2024

SEC 10-K Form, Virtu states that it “pay[s] monthly fees for the use of the microwave

communication networks” of Virtu’s joint ventures “in connection with” those joint ventures’

“respective trading activities.” Ex. 48 (emphasis added). One of those joint ventures is NLN

Holdings, which owns 10Band. In addition to owning 10Band, NLN Holdings owns NLN, which

operates the microwave communications portions of Defendants’ Worldwide Trading Network.

Supra ¶¶ 83–138. Virtu specifies that it has a “50.0% noncontrolling interest in one of those joint



                                                52
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 53 of 58 PageID #:789




ventures.” Id. Virtu has a 50 percent noncontrolling interest in NLN Holdings. See Fig. 4. The

microwave and shortwave portions of Defendants’ Worldwide Trading Network are

interconnected into a single trading network that connects worldwide trading exchanges.

        188.      Jump Trading has used Defendants’ Experimental Licenses to engage in

Commercial Trading over the shortwave communication rights granted to 10Band. In addition to

Jump Trading sharing 10Band’s shortwave network with Virtu, see supra ¶¶ 67, 186, trading data

also suggests that Jump Trading uses 10Band’s shortwave network to engage in Commercial

Trading, supra ¶¶ 83–138.

        189.      Defendants continue to engage in unlawful Commercial Trading over 10Band’s

network, including using 10Band’s shortwave transmitters in Elburn, Illinois; Wayne, New Jersey;

and Lynnwood, Washington, all operated under Defendants’ Experimental Licenses.

         Skywave’s Injury Caused by Defendants’ Unlawful Racketeering Conduct

        190.      Due to Defendants’ unlawful conduct, Skywave was unable to build and operate

the Skywave Network. Defendants’ racketeering scheme is the direct and proximate cause of the

termination of Skywave’s                  partnership with         and   and the associated resulting

costs and losses.

        191.      Although Skywave received                                                 as part of

        Agreement, supra ¶ 53 Skywave did not receive the

               under their agreement.

        192.      Pursuant to its obligations under the      and                , Skywave

                                  to develop the network infrastructure. Now, that development work

is a sunk cost.




                                                   53
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 54 of 58 PageID #:790




        193.       Additionally, Skywave was forced to pause aspects of its network construction.

This delay resulted in further opportunity costs to Skywave and an inability to leverage its

innovative technology in the market. For example, Skywave was unable to (1) complete its

purchase transmitters and antennas; (2) close on land acquisitions for U.S. shortwave transmitter

locations; and (3) develop shortwave receiver locations in the United Kingdom and Germany. See

supra ¶ 53.

        194.       As a result of the failure to complete its network construction, Skywave was never

able to operate the planned Skywave Network through which                                . Under the

                             ,      had agreed to                         over the Skywave Network

with Skywave and          . Thus, the failure to complete the Skywave Network resulted in Skywave’s

loss of at least                                .

        195.       Due to Defendants’ unlawful conduct, Skywave was unable to license its shortwave

network technology, know-how, and patents. Defendants’ racketeering scheme is the direct and

proximate cause of economic injury to competitor traders, including pairs traders in cross-

exchange international markets, who had no choice but to cease trading operations because they

could not compete with Defendants’ approximately 9-millisecond advantage due to use of

shortwave transmitters operated under Defendants’ Experimental Licenses.             As the scheme

advanced over time, competitor traders relinquished such cross-exchange trading or ceased

operations altogether, and Skywave lost potential customers for its shortwave network technology,

know-how, and patents.




                                                    54
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 55 of 58 PageID #:791




                                     CAUSES OF ACTION

                            COUNT I: Violation of 18 U.S.C. § 1962(c)

        196.    Skywave repeats and realleges each and every allegation set forth in Paragraphs 1–

195 as if fully set forth herein.

        197.    Defendants form an enterprise through association-in-fact.

        198.    The shared purpose of the enterprise and sub-enterprises and the members thereof

is to defraud the FCC to obtain shortwave Experimental Licenses for Commercial Trading,

unlawfully use those Experimental Licenses for Commercial Trading, and leverage the ill-gotten

advantages of Experimental Licenses to unfairly maximize the financial benefit that Defendants

derive from trading financial instruments at their competitors’ expense.

        199.    Each Defendant participated in the operation or management of Defendants’

enterprise.

        200.    Each Defendant contributed to directing the enterprise’s affairs.

        201.    Defendants and Defendants’ enterprise engage in interstate commerce.

        202.    Defendants’ enterprise engages in a pattern of racketeering, including violations of

18 U.S.C. § 1343. Defendants’ racketeering activities affect interstate commerce.

        203.    At least as of 2016, Defendants’ racketeering acts exhibit open-ended or closed-

ended continuity. Defendants’ racketeering acts all relate to and are in furtherance of the

enterprise’s shared purpose to defraud the FCC to obtain shortwave Experimental Licenses for

Commercial Trading, unlawfully use those Experimental Licenses for Commercial Trading, and

leverage the ill-gotten advantages of Experimental Licenses to unfairly maximize the financial

benefit that Defendants derive from trading financial instruments at their competitors’ expense.




                                                 55
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 56 of 58 PageID #:792




        204.    Defendants’ racketeering directly and proximately caused and continues to cause

injury to Skywave.

                           COUNT II: Violation of 18 U.S.C. § 1962(d)

        205.    Skywave repeats and realleges each and every allegation set forth in Paragraphs 1–

204 as if fully set forth herein.

        206.    From 2016, Defendants unlawfully, knowingly and intentionally combine,

conspire, and agree together to engage in the aforesaid conduct in violation of 18 U.S.C. § 1962(c),

as set forth in Count I of this Complaint.

        207.    By facilitating the enterprise’s racketeering activities, each Defendant intended to

further the shared purpose of the enterprise to defraud the FCC to obtain shortwave Experimental

Licenses for Commercial Trading, unlawfully use those Experimental Licenses for Commercial

Trading, and leverage the ill-gotten advantages of Experimental Licenses to unfairly maximize the

financial benefit that Defendants derive from trading financial instruments at their competitors’

expense.

        208.    Defendants’ violations of 18 U.S.C. § 1343 were in furtherance of Defendants’

conspiracy to conduct an enterprise designed to defraud the FCC to obtain shortwave Experimental

Licenses for Commercial Trading, unlawfully use those Experimental Licenses for Commercial

Trading, and leverage the ill-gotten advantages of Experimental Licenses to unfairly maximize the

financial benefit that Defendants derive from trading financial instruments at their competitors’

expense.

        209.    Defendants’ violations of 18 U.S.C. § 1343 have directly and proximately caused

and continue to cause injury to Skywave.




                                                 56
    Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 57 of 58 PageID #:793




                                    PRAYER FOR RELIEF

WHEREFORE, Skywave requests the following relief:

        A.     Entry of judgment holding each Defendant liable for violating 18 U.S.C. § 1961 et

seq.;

        B.     An injunction restraining each Defendant, and Defendants’ officers, agents,

employees, affiliates, and all other persons in concert with, in participation with, or for them from

(i) any further unlawful direct or indirect use of Experimental Licenses in the possession of any

Defendant; and (ii) any other unlawful trading practice directed towards obtaining for any

Defendant maximum financial benefit or acting to the detriment of competitors;

        C.      An award of damages—including without limitation Skywave’s lost profits and

amounts by which Defendants have been unjustly enriched—due to Defendants’ racketeering

together with pre-judgment and post-judgment interest;

        D.     An award of damages—including without limitation treble damages, attorney fees,

and litigation costs—in accordance with the civil remedy provisions of 18 U.S.C. § 1964(c); and

        E.     Any and all additional legal and equitable relief that may be available under law

and that the court may deem proper.

                                 DEMAND FOR JURY TRIAL

        Skywave hereby demands a trial by jury on all issues so triable.

 Dated: October 7, 2024




                                                 57
  Case: 1:24-cv-09650 Document #: 7 Filed: 10/07/24 Page 58 of 58 PageID #:794




                                           Respectfully submitted,

                                           _/s/ Jeanne M. Gills____________________


Justin Wilcox (pro hac vice pending)       Jeanne M. Gills (IL 6225018)
Goutam Patnaik (pro hac vice pending)      James Dasso (IL 6193545)
Jamie Dohopolski (pro hac vice pending)    Ariba A. Ahmad (IL 6343233)
DESMARAIS LLP                              FOLEY & LARDNER LLP
1899 Pennsylvania Avenue, NW, Suite 400    321 North Clark Street, Suite 3000
Washington, D.C. 20006                     Chicago, Illinois 60654-4762
Tel: 202.451.4900                          Tel: 312.832.4500
Fax: 202.451.4901                          Fax: 312.832.4700
jwilcox@desmaraisllp.com                   jmgills@foley.com
gpatnaik@desmaraisllp.com                  jdasso@foley.com
jdohopolski@desmaraisllp.com               aahmad@foley.com

Steven Balcof (pro hac vice pending)       Justin M. Sobaje (pro hac vice pending)
DESMARAIS LLP                              FOLEY & LARDNER LLP
230 Park Avenue, 26th Floor                555 South Flower Street, Suite 3300
New York, New York 10169                   Los Angeles, California 90071
Tel: 202.351.3400                          Tel: 213.972.4500
                                           Fax: 213.486.0065
Fax: 202.351.3401                          jsobaje@foley.com
sbalcof@desmaraisllp.com
                                           Attorneys for Skywave Networks, LLC




                                          58
